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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO


  Civil Action No. 1:20-cv-02218-PAB-MEH

  DAVID KATT, on behalf of himself and all others similarly situated,

  Plaintiff,

  v.

  KC MEDICAL, P.C.,

  Defendant.



                      STIPULATION FOR DISMISSAL WITH PREJUDICE
                         PURSUANT TO FED. R. CIV. P 41(a)(1)(A)(ii)


          The parties, by and through their respective attorneys, Ari Marcus on behalf of Plaintiff

  David Katt; and Alice Powers on behalf of KC Medical, P.C., hereby stipulate and agree

  pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii) to a dismissal with prejudice, with each party to bear

  its own costs and attorneys’ fees. By the filing of this Stipulation the above-captioned civil action

  is deemed resolved and the case shall be closed.
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        Respectfully submitted this 26th day of January 2021.


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                                    CERTIFICATE OF SERVICE

         I hereby certify that on this 26th day of January 2021, I electronically filed the foregoing
STIPULATION FOR DISMISSAL WITH PREJUDICE PURSUANT TO FED. R. CIV. P
41(a)(1)(A)(ii) with the Clerk of Court using the CM/ECF system which will send electronic notification of
such filing to the following:


Alice Powers
alice.powers@lewisbrisbois.com


                                                            /s/ Ari Hillel Marcus




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